EXHIBIT O
              Case 2:24-cv-01164-TL Document 30 Filed 08/29/24 Page 1 of 3




 1                                                               THE HONORABLE TANA LIN

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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   PACIFIC WATER TECHNOLOGY                         No. 2:24-cv-01164-TL
     LLC et al.,
10                                                    NOTICE OF BANKRUPTCY FILING AND
                   Plaintiff(s),                      STAY
11
                   v.                                 [Clerk’s Action Required]
12
     RYAN R WEAR et al.,
13
                   Defendant(s).
14

15   TO:           CLERK OF THE COURT;

16   AND TO:       ALL PARTIES OF RECORD.

17          PLEASE TAKE NOTICE that on August 27, 2024, Involuntary Petitions under

18   Chapter 11 of the United States Bankruptcy Code have been filed in the United States

19   Bankruptcy Court for the Southern District of Texas against the following defendant entities,

20   each of which is a respondent, under the case numbers identified below:

21          1. Creative Technologies, L.L.C., Case No. 4:24-bk-33934

22          2. Refreshing USA LLC, Case No. 4:24-bk-33919

23          3. Water Station Management LLC, Case No. 4:24-bk-33924

24   Accordingly, pursuant to 11 U.S.C. § 362(a)(1), this proceeding is hereby stayed.

25

                                                                               CORR CRONIN LLP
      NOTICE OF BANKRUPTCY FILING AND STAY                                 1015 Second Avenue, Floor 10
      (2:24-cv-01164-TL) – 1                                              Seattle, Washington 98104-1001
                                                                                 Tel (206) 625-8600
                                                                                 Fax (206) 625-0900
           Case 2:24-cv-01164-TL Document 30 Filed 08/29/24 Page 2 of 3




 1
         DATED this 29th day of August, 2024.
 2

 3                                              CORR CRONIN LLP
 4                                              s/ John T. Bender
 5                                              John T. Bender, WSBA No. 49658
                                                Kristen F. Barnhart, WSBA No. 51135
 6                                              CORR CRONIN LLP
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                                                Counsel for Pacific Parties
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                                                                        CORR CRONIN LLP
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              Case 2:24-cv-01164-TL Document 30 Filed 08/29/24 Page 3 of 3




 1
                                    CERTIFICATE OF SERVICE
 2
            I hereby certify that on August 29, 2024, I electronically filed the foregoing document
 3
     with the Clerk of the Court using the CM/ECF system, which will send notification of such
 4
     filing to those attorneys of record registered on the CM/ECF system. All parties (if any) shall
 5
     be served in accordance of the Federal Civil Rules of Procedure.
 6
           DATED this 29th day of August, 2024.
 7

 8                                                s/ Wen Cruz
                                                  Wen Cruz, Legal Assistant
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                                                                                 CORR CRONIN LLP
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